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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8
     TOBI-JO L. JOHNSON,
 9
                                    Plaintiff,           NO.
10
                            v.                           COMPLAINT FOR DAMAGES
11

12   PJ PACIFIC, L.L.C., an Oregon limited
     liability company; and GLACIERSAIL,
13   INC., a Grand Cayman corporation,

14                                  Defendants.

15

16                 COMES NOW, Plaintiff Tobi-Jo Johnson, by and through her attorneys of record,

17   Richard J. Davies and Marissa A. Olsson of Kraft Davies Olsson, P.L.L.C., and for a cause of

18   action against defendants, alleges as follows:

19                                           I. JURISDICTION

20                 1.1     This is an action by a seaman against her employers and the owners and

21   operators of the a motor yacht for injuries sustained in the course and scope of plaintiff’s

22   employment with defendants and for failure to timely pay medical cure for injuries and

23   illnesses occurring in the service of the vessel.

24
                                                                                KRAFT DAVIES OLSSON P.L.L.C.
     COMPLAINT FOR DAMAGES - 1                                                       600 University Street, Suite 1904
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                                                                                           Ph. (206) 624-8844
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 1                1.2     Jurisdiction is vested in this court under 28 U.S.C. § 1331, the Jones Act,

 2   46 U.S.C. § 30104, and the general maritime law.

 3                                             II. PARTIES

 4                2.1     At all times material, defendant PJ Pacific L.L.C. was an Oregon for-profit

 5   limited liability company doing business in Seattle, King County, Washington within the

 6   Western District of Washington, Northern Division, and was the owner and operator of the

 7   M/Y ARROWHEAD, employed plaintiff as a member of the crew, and an agent for defendant

 8   GlacierSail, Inc. in the United States of America.

 9                2.1     At all times material, defendant GlacierSail, Inc. was an Grand Cayman

10   for-profit corporation doing business in Seattle, King County, Washington within the Western

11   District of Washington, Northern Division, and was the owner and operator of the M/Y

12   ARROWHEAD and employed plaintiff as a member of the crew.

13                                           III. LIABILITY

14                3.1     On or about October 4, 2019, the M/Y ARROWHEAD was in navigable

15   waters of the United States in Seattle within the Western District of Washington. Plaintiff was

16   in the course and scope of her employment with defendants as a member of the crew of the

17   M/Y ARROWHEAD when she sustained injuries from inhalation of toxic fumes. At that time

18   and place, the M/Y ARROWHEAD was unseaworthy and defendants were negligent.

19                3.2     Defendants’     negligence      and   the   unseaworthiness     of       the         M/Y

20   ARROWHEAD include, but may not be limited to: (a) failing to provide plaintiff with a safe

21   place to work; (b) failure to keep the crew safe from toxic fumes; (c) exposing the crew to toxic

22   fumes; (d) failure to properly vent the vessel to protect the crew from toxic fumes; (e) failure to

23   conduct a proper job safety hazard analysis of the tasks underway on the vessel; and (f) such

24   other negligence and unseaworthiness developed through discovery before trial.
                                                                                        KRAFT DAVIES OLSSON P.L.L.C.
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 1                              IV. FAILURE TO PAY MEDICAL CURE

 2                 4.1     As plaintiff’s maritime employer and the owner of the vessel, defendants

 3   had an obligation to pay maintenance and cure for injuries or illnesses plaintiff sustained while

 4   in the service of the vessel.

 5                 4.2     Defendant failed to timely pay medical cure for medical expenses related

 6   to plaintiff’s exposure to toxic fumes on October 4, 2019 in violation of well-established

 7   maritime law.

 8                 4.3     Defendant’s failure to timely pay medical cure has caused damage to

 9   plaintiff, including, but not limited to stress and anxiety and has impaired her credit rating.

10                                            V. DAMAGES

11                 5.1     As a direct and proximate result of the unseaworthiness of the M/Y

12   ARROWHEAD and defendant’s negligence, plaintiff sustained injuries, including, but may not

13   be limited to, a respiratory injury from inhalation of toxic fumes. Plaintiff has incurred in the

14   past and, with reasonable probability, will incur in the future, medical expenses, lost earnings

15   and lost earning capacity, pain and suffering, anguish, psychological stress, disability, loss of

16   enjoyment of life, and impairment of her financial credit rating.

17                 WHEREFORE, plaintiff prays for damages and judgment against defendants,

18   jointly and severally, in an amount to be determined by the presentation of evidence at the time

19   of trial, punitive damages for failure to timely pay medical cure, together with taxable costs,

20   pre-judgment interest, and reasonable attorneys’ fees and costs.

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                                                                                      KRAFT DAVIES OLSSON P.L.L.C.
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 1               DATED this 7th day of January, 2022.

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                                                        KRAFT DAVIES OLSSON, P.L.L.C.
 3
                                                    s/Richard J. Davies
 4                                              By: s/Marissa A. Olsson
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